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                   8
                   9                              UNITED STATES DISTRICT COURT
              10                                CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 2:14-cv-03650-FMO
              12
                                            Plaintiff,            Consolidated with Case No. 2:15-cv-02628-
              13                                                  FMO
                                v.
              14                                                  Assigned To: Hon. Fernando M. Olguin
                        VIKTOR KHRAPUNOV; et al.,
              15                                                  DECLARATION OF JONATHAN M.
                                            Defendants.           JACKSON IN SUPPORT OF JOINT
              16                                                  STIPULATION TO EXTEND TIME TO
                                                                  IDENTIFY AND NAME “DOE”
              17                                                  DEFENDANTS
              18                                                  [Joint Stipulation to Extend Time to Identify
                                                                  and Name “Doe” Defendants; Proposed
              19                                                  Order filed concurrently herewith]
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                       US-DOCS\96343555.1                                          DELCARATION OF JONATHAN JACKSON
ATTORNEYS AT LAW
  LOS ANGELES
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                   1                          DECLARATION OF JONATHAN M. JACKSON
                   2            I, Jonathan M. Jackson, have personal knowledge of the facts set forth herein
                   3 and, if called to do so, could and would competently testify thereto.
                   4            1.          I am an attorney licensed to practice law in the State of California. I
                   5 am an associate at Latham & Watkins LLP and am counsel for plaintiff the City of
                   6 Almaty (“Plaintiff”) in this matter.
                   7            2.          On August 2, the Court granted a joint stipulation filed by Plaintiff
                   8 and defendants Elvira Khrapunov a/k/a Elvira Kudryashova; Dmitry Kudryashov;
                   9 RPM USA, LLC; RPM-Maro LLC; Maro Design LLC; Haute Hue LLC; 628
              10 Holdings LLC; Candian International Ltd.; Elvira Kudryashova as Trustee of The
              11 Kasan Family Trust; and Dmitry Kudryashov as Trustee of The Kasan Family
              12 Trust, which required Plaintiff to identify and name all “Doe” defendants by
              13 November 15, 2017. (Dkt. 143.)
              14                3.          Plaintiff anticipates receiving discovery responses from defendants
              15 Madina Ablyazova, Iliyas Khrapunov, Leila Khrapunov, Viktor Khrapunov, Elvira
              16 Khrapunov a/k/a Elvira Kudryashova; Dmitry Kudryashov; RPM USA, LLC;
              17 RPM-Maro LLC; Maro Design LLC; Haute Hue LLC; 628 Holdings LLC;
              18 Candian International Ltd.; Elvira Kudryashova as Trustee of The Kasan Family
              19 Trust; and Dmitry Kudryashov as Trustee of The Kasan Family Trust (collectively,
              20 “Defendants”) on November 17, 2017.
              21                4.          Plaintiff believes that Defendants’ discovery responses will assist
              22 Plaintiff in its ability to identify and name any additional “Doe” defendants;
              23                5.          Plaintiff is currently drafting its response to Defendants’ Motion to
              24 Dismiss, which is due by November 22, 2017.
              25                6.          Plaintiff believes a brief extension of time will assist Plaintiff in
              26 determining whether and to what extent it believes additional “Doe” Defendants
              27 should be added.
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                       US-DOCS\96343555.1                                                   DELCARATION OF JONATHAN JACKSON
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                   1            7.          Neither party has previously requested an extension of time to identify
                   2 and name all remaining “Doe” defendants.
                   3 DATED:                 November 14, 2017            LATHAM & WATKINS LLP
                   4                                                     By    /s/ Jonathan M. Jackson
                                                                              Jonathan M. Jackson
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ATTORNEYS AT LAW
  LOS ANGELES                                                            2
